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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                     Northern District of California

                                                                   ))
WHATSAPP LLC, a limited liability company                          ))
organized under the laws of Delaware, and META                     ))
PLATFORMS, INC. a Delaware corporation,                            ))
                            Plaintiff(s)
                                                                   ))
                                                                   ))
                                v.                                        Civil Action No. 3:22-cv-05711

ROCKEY TECH HK LTD., a private limited company
organized under the laws of Hong Kong, China,
BEIJING LUOKAI TECHNLOGY CO., LTD., a
limited liability company organized under the laws of
China, CHITCHAT TECHNOLOGY LTD., a limited
liability company organized under the laws of Taiwan,
collectively d/b/a “HeyMods,” “Highlight Mobi,” and
“HeyWhatsApp,”
                           Defendant(s)

                                                 SUMMONS IN A CIVIL ACTION
To: (Defendant’s name and address)
ROCKEY TECH HK LTD., a private limited company organized under the laws of Hong Kong, China, BEIJING
LUOKAI TECHNLOGY CO., LTD., a limited liability company organized under the laws of China, CHITCHAT
TECHNOLOGY LTD., a limited liability company organized under the laws of Taiwan, collectively d/b/a “HeyMods,”
“Highlight Mobi,” and “HeyWhatsApp,”

          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                                 Ann Marie Mortimer
                                                 Jason J. Kim
                                                 Brandon Marvisi
                                                 HUNTON ANDREWS KURTH LLP
                                                 550 S. Hope Street, Suite 2000
                                                Los Angeles, California 90071-2627

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


Date:
                                                                                       Signature of Clerk or Deputy Clerk
                                                                                                              American LegalNet, Inc.
                                                                                                              www.FormsWorkFlow.com
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Civil Action No. 3:22-cv-05711

                                                    PROOF OF SERVICE
                    (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          This summons for (name of individual and title, if any)
was received by me on (date)

              I personally served the summons on the individual at (place)
                                                                                on (date)                              ; or

              I left the summons at the individual’s residence or usual place of abode with (name)
                                                                , a person of suitable age and discretion who resides there,
          on (date)                               , and mailed a copy to the individual’s last known address; or

              I served the summons on (name of individual)                                                                          , who is
          designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                              ; or

              I returned the summons unexecuted because                                                                                   ; or

              Other (specify):



          My fees are $                           for travel and $                  for services, for a total of $


          I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

Additional information regarding attempted service, etc:




                                                                                                                     American LegalNet, Inc.
                                                                                                                     www.FormsWorkFlow.com
